45 F.3d 425NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Michael Anthony BOLDEN, Petitioner Appellant,v.Edward W. MURRAY, Director of the Virginia Department ofCorrections, Respondent Appellee.
    No. 92-6115.
    United States Court of Appeals, Fourth Circuit.
    Submitted January 10, 1994Decided Dec. 29, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Rebecca B. Smith, District Judge.  (CA-91-99-N)
      Michael Anthony Bolden, Appellant Pro Se.
      Katherine P. Baldwin, Office of the Atty. Gen., of Virginia, Richmond, VA, for Appellee.
      Before WIDENER, MURNAGHAN, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Bolden v. Murray, No. CA-91-99-N (E.D. Va.  Jan. 3, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    